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                              UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF LOUISIANA

Dorothy Nairne, et al.,

       Plaintiffs,

v.                                                          Civil Action 3:22-cv-00178

Kyle Ardoin, in his official capacity as
Secretary of State for Louisiana,

       Defendant.




                                            ORDER

       CONSIDERING the foregoing Motion for Admission Pro Hac Vice:

       IT IS ORDERED that the Motion is GRANTED, and Brennan Bowen is hereby enrolled

as additional counsel for the Intervenor-Defendant, the State of Louisiana, by and through

Attorney General Jeff Landry, in the above captioned matters.



       READ SIGNED AND DATED this _____ day of _______________, 2023, in Baton

Rouge, Louisiana.

                                      ______________________________________________
                                            UNITED STATES DISTRICT JUDGE




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